indeed es =

mM This job has expired on Indeed

Reasons could include: the employer is not accepting applications, is not actively hiring, or is reviewing applications

Certified Veterinary Technician
Petland Pembroke Pines
Largo, FL

Job details

Job Type
Full-time

Qualifications

Experience:
e Veterinary Technician, 1 year (Required)

Education:
e High school or equivalent (Required)

Full job Description

This position entails a lot of responsibility in our kennels. Our Vet Techs will be in charge of overseeing the
daily cleaning and disinfecting as well as in charge of socializing the pups and will be the main caretaker of
the puppies in our store. Its essential that knowledge of all medicines and a close relationship with our
Veterinary is established.We work on hands with the vet who is at the store 4-5 times a week. Taking
weights, administering vaccines, kennel cleanup, feeding, etc will be some of the tasks expected of you. The
presentation of the puppies and their kennels is the duty of the Kennel Techs. Looking for a bright
individual with a matching personality to take on this positive role in our store. Experience required.

Responsibilities include:

- Record keeping

- bathing/ feeding the animals in our care

- working independently

-communicate effectively and properly with clients regarding their pets
- have good people/customer service skills

-work well / manage team members

Do not contact the store. Please submit resume
Job Type: Full-time
Salary: $35,000.00 /year

Experience:

© Veterinary Technician: 1 year (Required)

Education:
e High school or equivalent (Required)

- 30+ days ago - report job

I] Copy link

I want to receive the latest job alert in Largo, FL

My email:

Be the first to see new jobs

By creating a job alert or receiving recommended jobs, you agree to our Terms. You can change your consent settings at any

time by unsubscribing or as detailed.in our terms.

Find jobs wherever you are

Download Indeed app

. ee eee

amt [o) oBS<T-] e010) a Dat

Certified Veterinary

Technician

Petland Pembroke Pines - Largo, FL

$35,000 a year
Y Your resume matches this job

This position entails a lot of responsibility

in our kennels. Our Vet Techs will be in

charge of overseeing the daily cleaning
and disinfecting as well as in charge of
socializing the pups and will be the main
caretaker of the puppies in our store. Its
essential that knowledge of all medicines
and a close relationship with our
Veterinary is established.We work on
hands with the vet who is at the store 4-5
times a week. Taking weights,
administering vaccines, kennel cleanup,
feeding, etc will be some of the tasks
expected of you. The presentation of the

nimmniae and thair bLannale ie tha Air anf

pANe) 0) YA Co) ies

omee 0) O)RSY=1c 101 9 i al

aim (0) OST =1-1 (018 a 3

Certified Veterinary - have good people/customer service

Technician skills

Petland Pembroke Pines - Largo, FL

$35,000 a year

v Your resume matches this job Do not contact the store. Please submit
resume

-work well / manage team members

This position entails a lot of responsibility
in our kennels. Our Vet Techs will be in
charge of overseeing the daily cleaning
and disinfecting as well as in charge of
socializing the pups and will be the main
caretaker of the puppies in our store. Its
essential that knowledge of all medicines
and a close relationship with our
Veterinary is established.We work on
hands with the vet who is at the store 4-5 Education:
times a week. Taking weights,
administering vaccines, kennel cleanup,
feeding, etc will be some of the tasks
expected of you. The presentation of the

#) Type: Full-time

Salary: $35,000.00 /year

Experience:

eterinary Technician: 1 year
(Required)

e High school or equivalent (Required)

nomniac and thair kannale ie tha dirty vf

report jab
f -_ _\

4:45 B@oow- oe

= Search Google Voice

Petland
P Aug & 2078,3:29 PM

oe

Hi Melanie, my name is Lynette. I'm
calling from Petiand in Largo. If you

can please give me a call back, this is
regarding the resume you submitted

for the certified veterinary technician
position. Please give me a call back

$0 We can go ahead and schedule

you an interview. Okay? My number is
+954-442-300-1060. And again, my name
is Lynette. Thank you, bye-bye.

%, Cali Petland
©) Text Petland
Petiand Au
iti Melanie, my name is Leann!
ao.
Bs = Voicemail
<j © CJ r

ea . Petland

4:44 Bi @os- S* of

== Search Googie Voice

Google Voice text messages you've
exchanged in Hangouts now show up

here. Learn more

Aug 3, 2078
Hi Melanie, my name is Lynet.. 0:22

ca) Petiand 2
® Aug 6,2018, 2:03 PM .
qi @ >

0:00 O18

Hi Melanie, my name is Leanne and i'm
calling from Petland in regards to the
resume you submitted through indeed
for the veterinary technician position at
Petland. If you can please give me a call
back. My number is +954-440-200-3

X_ Call Petland

orn? BVA stash Sd)

ee

(CTolelem-Vat-ignece) ay

BB sitcom (ets mde low <olel ats)
pate larcle|-1mm ie) el-1t-laremc-leele)
Bele (emi <cmcons (lat

VOL ma tg=iialiaremielasle)aco)

7s 0] 8)-1 504i 0) 0) 0) a)

Sunday, Aug 12+ 8:14PM

Hi yessi! | can be available
to start tomorrow... What is
the compensation for this
position?

Aug 12, 8:14 PM + SMS

© Text message >

Arie cei ete 211)

> a

29 AV Ve

| Did you fill out the paperwork?
11:29 A M

| sure did 1:32 AM v
ae) " rei
Good! I'm going to give you a
uniform today when you come in

11: 33 AM om

» 7:00am to 3:15 on 8/1 6/18 E

11:48 AN

E | Clock in 3:26PM

oe So | can fix the hours 3-26 py

er Belek We aN

So resche fe) not getting maid
today unless we had direct
deposit...! will come get it when

it stops raining. Thank you <>)
418 PM

My check is not right either...who
would | talk to about that?

5:42 PM

Code Number :
Rowe oesei29 OM SO Earnings Statement £5
es Of Largo inc S
10289 Ulmerton Rd Period Starting: oarr7i208
3377 Period Ending: 08/30/201
cae Peer Pay Date: 08/31/2018
Taxable Marital Status: o
Allowances: ‘ax Override: MELANIE N MOORE
co 9 — 11421 124TH TERR
Local: 0 Local Largo, FL 33778
Social Security Number. XXX-XXXXXX
Ea rate__hours/units this peri year to date Other Benefits and
Regular 8.4500 24.27 205.08 205.08 information _ this period yeartodate —
Total Hours Worked 24.27 24.27
Gross Pay $205.08 $205.08
Statutory Deductions this period year to date
Federal income —6.28 6.28
Social Security -12.71 12.71
Medicare -2.97 2.97
Net Pay $183.12
Your federal taxable wages this period are $205.08
Pooches Of Largo Inc 63-466/631
10289 Ulmerton Ra
Payroll Check Number. 50002
fogeaeer Pay Date: 08/31/2018
a MELANIE N MOORE
ee ONE HUNDRED EIGHTY THREE AND 4 $183.12

REGIONS BANK MELANIE N MOORE

11421 124TH TERR
Largo, FL 33778

= That is right 6:25PM
ee. Certified dennis Technician - Largo, FL

- Indeed.com

www.indeed.com

— 3 htto://www.indeed.com/viewjob
| ?from=appsharedroid&jk=
2 , eee rubies 6-A5 PM

.. it says no longer available but
. | the = mT is Fight 6:A7 PM

- have good people/customer service
skills

-work well / manage team members

Do not contact the store. Please submit
resume

Job Type: Full-time
Salary: $35,000.00 /year
Experience:

e Veterinary Technician: 1 year
(Required)

That is the position | applied

, for and that is the position
| was hired for. Why would
| leave my last job making

= almost $16 an hour for a job

that pays less than half of
what | was making? Bait and

» switch is illegal as hell. They
can't offer a job at one pay
rate and then change the rate

| after someone has already

i put in the hours. 6:54 PM

| know it's not your fault. I'm not
blaming you. But that is a total

e scam.

| would call corporate to gure i it

out

6:56 PM |

| will see about getting a layer
and have them call. | think that
would be the best way to handl vy,

___ 7.04 2M

10

1 UNREAD MESSAGE

I'm sorry to say but your
employment at Petland is
terminated immediately and we
will have our legal team look into’
the wage disagreement. It was a
pleasure working with you. >

11

SF EE TR I Ee

— | t2
Tor Fun ReparsextinG Earlovel
866 -344-WAGE (9243) AGAINST EMPLOYERS

ller Legal, P. A, _ ACROSS THE Univep Stares

. IN CLAIMS FOR:

eer SS = eS ea

Tor Per
877-435 WAGE (9243)

PROTECTING EmpLover RiGHTs

WA * Discrimination

3371-0759 December 6, 2018 SINCE 2003 + Harasement
ORLANDO ~ Overtime
407-261-7920
Seicweiay VIA UNITED STATES MAIL * Retaliation
321-206-4030 AND FACSIMILE TO 786-294-9452 * Wrongful Termination
BrRowvKn ~ Whistleblower Rights
mees5 Pooches of Largo, Inc. d/b/a Petland Largo ~ Unpaid Commissions
sie esi-a93 Attn: Human Resources/Legal Department “Ressants Nelegatiors
rrmven, S481 NW 154™ St, Suite 270 * Bisechsot Sarat

239-567-8765 Miami Lakes, FL 33016

JACKSONVH it

sensi 10289 Ulmerton Rd
392-224-4200 Largo, FL 33771

Re: Moore, Melanie v. Pooches of Largo, Inc. d/b/a Petland Largo

Dear Sir or Madam:

This firm represents Ms. Melanie Moore (“Ms. Moore”) in her claims against Pooches of
Largo, Inc. d/b/a Petland Largo (“Petland”), for breach of contract for unpaid wages in violation
of the Pinellas County Wage Theft Ordinance at Section 70-306, and for retaliation and wrongful
termination in violation of Florida’s Private Whistleblower Act (“PWA”). If we are unable to
resolve this matter by December 20, 2018, we intend to proceed with litigation immediately.
“s Please notify your insurance carrier and legal counsel of these allegations. Additionally, please
advise if any binding arbitration agreement is alleged to be in place.

The facts of this case are straightforward, yet deeply troubling. Ms. Moore worked as a
Certified Veterinary Technician from August 13, 2018, until her unlawful termination on August
31, 2018. During her short tenure, Ms, Moore was an excellent employee with no history of
disciplinary, performance, or attendance issues. In fact, Ms. Moore worked without issue until she
objected to the unlawful pay practices by Petland, in violation of the foregoing laws.

Per Ms. Moore’s compensation agreement with Petland (“Agreement”), Petland was
obligated to pay Ms. Moore a salary of $35,000 per year. However, immediately upon receipt of
her first pay check, Ms. Moore discovered a significant discrepancy.‘ Accordingly, Ms. Moore
immediately text her Supervisor, Allison, and objected to Petland’s unlawful wage theft. See
Pinellas County Wage Theft Ordinance, Section 70-306.2 Unfortunately, Ms. Moore was
unlawfully terminated, via text message, less than one hour later.

' Specifically, Petland failed to pay Ms. Moore the agreed upon salary, i.e. $35,000, and also improperly reported the
number of hours Ms. Moore worked. Our firm is in possession of the Agreement in which Petland offered Ms. Moore
a full-time position with a $35,000 annual salary.
*In this text message, Ms. Moore provided a link to Petland’s initial job post through which Ms. Moore applied, which
clearly evidenced the pay discrepancy and provides direct evidence of Petland’s willful and material breach of its
compensation Agreement with Ms. Moore. Rather than investigate and/or take corrective action however, Allison
or merely directed her to contact Petland's corporate office.

7450 Griffin Road | Suite 230 | Davie, FL 33314
Telephone 866-344-WAGE (9243) | Fax 954-337-2771 | richard@floridaovertimelawyer.com

ar a eee» Aa ate cde get i ee itn bn i a Oni mk a a rg a age tela

Petland’s retaliatory conduct above undoubtedly supports a violation under the PWA, as
her termination immediately following her wage theft objections, constitutes unlawful
retaliation/adverse action under the law. As I am sure you are aware, terminating an employee for
objecting to a violation of law, rule, or regulation, is contrary to the protections of Florida’s PWA.
See Aery v. Wallace Lincoln-Mercury, LLC, 118 So.3d 904, 916 (Fla. 4th DCA 2013) (To establish
a violation of the Florida Whistleblower law, an employee must establish that: (1) she objected to,
or refused to participate in, an illegal activity, policy, or practice; (2) she suffered an adverse
employment action; and (3) the adverse employment action was causally linked to her objection
or refusal), The text messages in this case are direct evidence of the adverse action taken against
Ms. Moore, and the temporal proximity between her objections and termination, further support
her claim.

In light of the foregoing, we are confident that the reviewing judge or jury will find
Petland’s conduct unlawful and intolerable, and we intend to pursue these claims vigorously.
Accordingly, if we do not hear back from you by December 20, 2018, with an appropriate offer
to resolve this matter, we will assume you have no interest in resolution, and we will move forward
with litigation, immediately.

Pursuant to Florida Statutes §627.4137, our client hereby requests that the Employer
provide our office, within thirty (30) days of this request, with: (a) a copy of any insurance policies
which cover or may cover the Company for any liability, attorneys’ fees, or costs arising from or
related to our client’s claims as set forth herein; and disclose (b) (i) the name and address of each

*, insurer; (ii) the number of each insurance policy; (iii) the effective date of any policies; (iv) the
limits of liability; and (v) any deductible amount(s). Additionally, Petland should immediately
preserve all [paper copies or electronically created/stored] documents, emails, reports, memos,
logs, timecards, payroll journals, and any other documents/information mentioning or related to
Ms. Moore’s employment.

Respectfulty, >)

Angie Pereyra, Esq.
\._ AssotTaite Attorney

Richard Celler, Esq.

Managing Pariner

MATTHEW S. SARELSON

PARTNER

DIR: 305.330.6090
EMAIL: MSARELSON@KYMPLAW.COM

CONFIDENTIAL SETTLEMENT COMMUNICATION
Via Email to angie@floridaovertimelawyer.com & U.S. Mail
December 11, 2018
Angie Pereyra, Esq.
Celler Legal, P.A.
7450 Griffin Road, Suite 230
Davie, Florida 33314

Re: Melanie Moore adv. Pooches of Largo, Inc.

Dear Ms. Pereyra:

Tam counsel to Pooches of Largo, Inc. I have reviewed your letter of December 6, 2018 regarding
Ms. Melanie Moore. Some background information is necessary concerning her claims.

Ms. Moore was hired with a start date of August 17, 2018. Her last date was approximately
September 13, 2018. She worked for the company for about three week. She got the job by
applying for a position via Indeed.com. The job posting — for a Kennel Technician — identifies the
salary range as between $8.25 and $11.00 per hour. See Exhibit A. The agreed upon rate was
$8.45. Furthermore she worked part-time, approximately 22 hours per week, during each of the
three weeks of her employment. See Exhibit B (Pay stubs). She was not a full-time employee
compensated at $35,000 annually; in fact she never worked full-time at all, regardless of her
compensation. (No kennel technician is paid a full-time salary; all are paid hourly).

We are in receipt of the “Petland Wages Agreement for Kennel” you sént over that indicates a
compensation package of $35,000 per year. Youll note that the word “hour” is struck out and that
the word “year” is handwritten in. Also note that the form, including replacing the word “hour”
with “year” was all done by your client Melanie Moore. The form was not completed or edited by
anyone at Petland. The signature above the line for manager in undecipherable chicken scratch
and it does not match the signature of either of the two managers (Allison or Mike) who would

KAPLAN YOUNG & MOLL PARRON

ATTORNEYS AT LAW

Brickell World Plaza | 660 Brickell Avenue. Suite 17135 | Méami, FL 33131 | t 305.531.2424 | #£ 205.537. A405 | waw. dymplaw. com

have potentially signed this form. It would be helpful if your client could explain who signed the
alleged contract and the circumstances of it being signed. Frankly, we do not believe that this is a
valid, authentic contract executed by anyone at Petland, and certainly no one at Petland who had
any authority to change the compensation amount and structure for a kennel technician.

Assuming, arguendo, that the Petland Wages Agreement for Kennel was authentic, valid and
binding, your client would at most have a claim for breach of contract with the measure of damages
being the difference due pursuant to the contract and the amount actually paid to her. Her
hypothetical damages for breach of contract are $1,441.53 (the contract amount minus the amount

paid). This is a small claims matter that does not even meet the threshold for county court. But
again, we do not believe there is any merit to this claim.

We do not believe your client has any potential legal remedies, except perhaps a claim for breach
of contract for $1,400.00. Even that claim is dubious because it does not appear that there is a
valid contract and, assuming nothing nefarious, merely a mutual mistake.

Should you wish to discuss this matter, please feel free to call or email.

Very truly yours,

KAPLAN YOUNG & MOLL-PARRON

/s/ Matthew Sarelson

Matthew Seth Sarelson, Esq.

Ce: — Client, via email only

KAPLAN YOUNG & MOLL PARRON

ATTORNEYS AT LAW

Brickell World Plaza | 600 Brickelf Avenne. Suite 1715 | Miami, FL, 33434 | & BOR TRL 2424 | Of BO5.531.2405 | www Aparpham-ccn

® Timeline a

2018 ~ August - 13

TODAY

Kol Sg Ak 2,

Morning at Petland Largo

22mi
fh on

© 71421 124th Terrace N

Certified Veterinary
Technician

Metin Perheicks Few

etre tices thee 9

Oriwnga
Ga) Driving

< > =r

14

9 Lluis é TODAY

2018 ~ August * 16 “ il,

Gfe.-onfall §_ _eleoteel f.c_ af

11421 124th Terrace N ” £00 AM-1132 AM

#oe@

fm) =O riving - 1 2m 4mn g-

Petland Largo > 1i36AM-725PM = 5
fx) 9 Oniving - 1 im A2emn  f.
11421 124th Terrace N - FS

&//employers.indeed.com/j#jobs/view?id=2a5b3069d4c1

Kennel Technician
Petland Florida — Large, Fi:

Clicks

o— Your job —— Top pederming sponsored jobs* Clicks this week @

/ 99% fewer clicks than similar jobs that
f are sponsored
Ae ff increase Budget for More Clicks
= tee D558 2 wr 12818 12a/8 improve Job Description

© performance

Candidates

Job Description

iit Be in charge verseeing ihe daily caning and

Application Questions

edit job

else job

view cost & performance
find candidates tor this job
Views: 77

Candidates: 16

Job Buriget: 35 00 dary

Stgtus: Open — pause

Created: Nay 23
ee

View public job page

Promote this job for mora’ caricidates:
carpany Code Loc/Dept Number Page
Ki/ 24341229 01/4 5261614 7 of 1
Pooches Of Largo Inc
10289 Ulmerton Rd
Largo, FL 33771
Taxable Marital Status: Single
Exemptions/Allowances: Tax Override:
Federal: 0 Federal:
State: 0 State:
Local: 0 Local:
Social Security Number: AXK-AX-KKKK
Eamings Tate hours/units: this period year to date
Regular 8.4500 44,07 372.39 577.47
Gross Pay $372.39 $577.47
Statutory Deductions this period _ year to dale
Federal Income 23,01 29.29
Social Security -23.09 35.80
Medicare -5.40 8.37
Net Pay $320.89
Pooches Of Largo Inc
10289 Ulmerton Rd

Largo, FL 33774

Deposited to the account

Checking DirectDeposit

MELANIE N MOORE
11421 124TH TERR
Largo, FL 33778

Earnings Statement

FD

Period Starting: 08/31/2018
Period Ending: oo1a/2018
Pay Date: 09/14/2018

MELANIE N MOORE
11421 124TH TERR

Largo, FL 33778
Other Benefits and
Information this period year to date
Total Hours Worked 44.07 68.34
Deposits
account number transi/ABA amount
ARKKXR4TS2 XXXAAKAXK 320.89
Your federal taxable wages this period are $372.39
Pay Date: 09/14/2018
amount
320.89

IZ.

Gmail - FW: Moore, Melanie v. Petland Largo : Fwd: Mel... https://mail.google.com/mail/u/1?ik=fc1f93633 1avier

| Gmail

LING Melanie Moore <vettechmnm@gmail.com>

FW: Moore, Melanie v. Petland Largo : Fwd: Melanie Moore/Petland Case
2 messages

Angie Y. Pereyra <Angie@floridaovertimelawyer.com> Fri, Feb 15, 2019 at 5:40 PM
To: "vettechmnm@gmail.com" <vettechmnm@gmail.com>
Cc: Noah Storch <Noah@floridaovertimelawyer.com=>

Hi Melanie,

Tried calling you three (3) times and left you a voicemail. Candidly, I'm not sure what the upset is about. We
addressed your case within two (2) months of you retaining us, which is within our typical 6-8 week turn
around process. We emailed you Petland’s response to the demand letter immediately (the day after we
received it), and we received your rebuttal a month and a half later, on January 23, 2019, just three (3)
weeks ago. Then today, we receive an aggressive email insinuating that your case has not been handled
properly.

Respectfully, we have been attentive to your claims, and have handled your case with diligence. Currently,

" we are in the negotiations process of your case, and this time frame is more than normal. There are
discussions we have with the attorney and behind the scenes investigations that are done which do not
require client contact. Also, you provided us numerous documents, photos and other evidence to review, and
we are doing just that. This isn’t an overnight process. It has only been three (3) weeks since you sent these
things to us.

Regarding updates, we do not unilaterally reach out to clients for updates, but are happy to provide you one
any time you reach out to us. That being said, your case is being handled, but you'll need to be patient. You
indicated that you would like us to move forward in your case. However, | do not believe we have exhausted
pre-litigation settlement discussions at this point. However, if what you're asking, is that we forego the pre-
litigation negotiation process and file a lawsuit immediately, | am happy to discuss your request with Mr.
Celler or Mr. Storch (copied on this email). Please advise.

Regards,
Angie Pereyra, Esq.
Associate Attorney
¢ Richard Celler Legal, P.A.
10368 West State Road 84
lof 6 8/14/2019, 7:37 PM

[Quoted text hidden] 19

------—- Forwarded message ——-——-

From: Richard Celler <richard@floridaovertimelawyer.com>
To: "“msarelson@kymplaw.com" <msarelson@kymplaw.com>
Cc: Ahava Livingstone <ahava@floridaovertimelawyer.com>
Bcc:

Date: Mon, 29 Apr 2019 11:37:43 +0000

Subject: Moore, Melanie v. Petland Largo :

Matthew:

| hope all is well and sorry for the delay. Angie is no longer with us so this one got slipped in
the transition. | am attaching, for settlement purposes only (it is not admissible and edited by
counsel) a rebuttal to your response letter in this case. We are filing suit if the case isn’t
settling. Our demand is $70,000.00. The case is not going to settle for nuisance value.

If we don't hear back by Friday, May 3, 2019, my instructions are to file the case. Let me know
what your folks want to do. AL, please calendar for me to file suit on Friday if not settled.
Thanks.

Regards,

Richard Celler, Esq.
Richard Celler Legal, PA.

49969 Al CR OA #4102
10368 Vi. OM. OF FIU

Ravie Florida 2232
Lo ie, COMPELS adele

Toll Free: 866-344-9243 X 107

Fax: 954-337-2771

Email: Richard@floridaovertimelawyer.com

Website: www. floridaovertimelawyer.com

_ Davie, Florida 33324

Toll Free: 866-344-9243 X 107

Fax: 954-337-2771

Email: Richard@floridaovertimelawyer.com

Website: www.floridaovertimelawyer.com

From: Richard Celler

Sent: Monday, May 06, 2019 7:50 AM

To: 'msarelson@kymplaw.com’ <msarelson@kymplaw.com>
Ce: Ahava Livingstone <ahava@floridaovertimelawyer.com>
Subject: RE: Moore, Melanie v. Petland Largo :

Hi Matthew:

Hope all is well. Just following up here. | didn’t hear back in response to my email and
rebuttal. Is there an interest in settlement, or should we just file suit?

AL, bump for me to file suit for next Monday so Matthew has a chance to catch up on this.

Matthew, if we don’t hear back, my instructions are to file. I'm trying to resolve this pre-suit,

so my hope is we can connect and chat to get it resolved. If not, that’s ok too.

Regards,

Richard Celler, Esq.

Richard Celler Legal, PA.

10368 W. SR. 84 #103

Davie, Florida 33324

Toll Free: 866-344-9243 X 107
ax: 954-337-2771

Email: Richard@floridaovertimelawyer.com

20,

Richard Celler <richard@floridaovertimelawyer.com>
To: MnM <mylink2u@gmail.com>, Richard Celler <richard@floridaovertimelawyer.com>

Melanie;

Mon, May 20, 2019 at 8:17 AM 21

a

The more | look at this, the more | think this is not a good fit for my law firm to file. | am going to suggest you find another law firm to
pursue it and file it. | think you and | just have different visions of the value of the case and the liability. They offered 1,500.

’'m not going to charge you anything for my time, but | think it's best you find someone who shares the passion for this case that you
have. | think the case has some good and some bad- the damages are minimal under the law. I'm not diminishing how this impacted
” you personally and | feel terrible for aif that has happened to you.

But, legally, | don’t think the case is strong enough at this point where | would file it. Let's discuss next sieps and a transition for you to
find another lawyer. Does that work for you?

Richard Cellier
Richard@floridaavertimelawyer.com
www. floridaeveriimelawyer.com

866-344-WAGE (9243)

{Quoted text hidden}

Richard Celler <richard@floridaovertimelawyer.com> Mon, May 20, 2019 at 8:34 AM

MATTHEW S. SARELSON

PARTNER

Ore: 305.330.6085
EMAIL! MSARELSON@KYMPLAW. COM

CEASE AND DESIST

Via Email mvlink2u@gmail.com and U.S. Mail, Return Receipt Requested

June 13, 2019
Melania N. Moore
11421 124th Terr
Largo, Florida 33778

Re: Pooches of Largo, Inc. adv. Melanie Moore

Dear Ms. Moore:

As you know, I represent your former employer, Pooches of Largo, Inc. I have been advised that
Attorney Richard Celler no longer represents you. Please forward this letter to your attorney, if
you have one.

You are ordered to IMMEDIATELY remove and delete the Facebook page entitled “Why You
Shouldn’t Buy Pets from Petland.” It is readily apparent that you are the page’s author and
administrator. The page already has 131 “likes” and 135 “followers.” The allegations contained
on this page are totally false and defamatory.

We have already been in touch with Facebook to confirm the computer used to create the page,
etc. Print outs of the relevant pages are attached to this letter. We are contemplating suing you for
defamation. In the meantime, you can and must minimize the damage by removing and deleting
the Facebook page.

Very truly yours,

KAPLAN YOUNG & MOLL-PARRON

/s/ Matthew Sarelson

Matthew Seth Sarelson, Esq.

KAPLAN YOUNG & MOLL PARRON

ATTORNEYS AT LAW

Brickell World Plaza | 600 Brickell Areume, Snile 1715 | Miamé, PL 33431 | t 3055312424 | fi 303.531.2405 | area Apaebderer cove

22

7/22/2019 ; Why You Shouldn't Buy Pets from Petland Settings

https:/Avww.facebook.com/dontbuyanimalsfrompetland/settings/?tab=admin_roles

- | Why You Shouldn't Buy Pets from Petland |
Page Inbox Appointments Notifications Insights Publishing Toals More ¥ Settings Heir
Messaging
Page Roles
Post Attribution
Everyone who works on your Page can have a
Notifications different role depending on what they need to work on.
Learn more
Page Roles
People and Other Pages Sections
Branded Content Existing Page Roles Jump to Section
Page Support Inbox
Activity Log Existing Page Roles
Admin
Can manage all aspects of the Page. They can publish and send Messenger messages as the
Page, respond to and delete commenis on the Page, post from Instagram to Facebook, create
ads, see who created a post or comment, view insights, and assign Page roles. If an Instagram
account is connected to the Page, they can respond to and delete comments, send Direct
messages, sync business contact info and create ads.
Moderator
Can send Messenger messages as the Page, respond to and delete comments on the Page,
create ads, see who created a post or comment, and view insights. If an Instagram account is
connected to the Page, they can respond to Instagram comments, send Direct messages and
create ads.
Moderator Edit
i
About CrealeAd CreatePage Developers Careers Privacy Cookies Ad Choices Terms AccountSecurity LoginHelp Help
Facebook @ 2019
English (US} Nederlands Frysk Polski Turkce Deutsch Francais (France) 4:»! Espafiol Portugués (Brasil) Italiano
Chat
Wi

24
7 & www.google.com ©

odyssey

eo

No body wants to see any ¢ dog have the life.
these dogs do. By purchasing even the
smallest item from Petland you are helping
to keep these puppy mills open. However,
you shouldnt just simply sit around and

wait for the abuse to stop. By reporting
animal abuse and bad living conditions to
the police when you see it, it will help to take
down the chain of stores and mills one by
one. Although we have a long way to go by
attacking one store at a time, each store

<< > @ »

care? PETITIONS

Puroy Mis

Stop petland from buying from puppy
mills!

25

5/24/2020 Gmail - Petland Document Request

26

Melanie Moore

{Quoted text hidden]

~ atthew Sarelson <msarelson@kymplaw.com> Fri, Jul 19, 2019 at 3:24 PM
.0: MnM <mylink2u@gmail.com>

Ms. Moore --

We have attempted to reach you through counsel. Your original attorney, Mr. Cellar made it clear he no longer represents you. You
have not given us the name of any current counsel (if any).

Attached is a lawsuit filed against you in the Miami-Dade Circuit Court. We are also attached summons issued to you as well.
You or your attorney should contact us and otherwise response to the lawsuit.

Thank you, Matthew

MATTHEW SETH SARELSON, Esq
PARTNER

e: 303.773.1952 | d: 305.330,6090
www.kymplaw.com | msarelson@kymplaw.com | vCard
® Linkedin® skype Twitter

{Quoted text hidden]

2 attachments

=, Complaint.pdf
x a 6532K

=) Summons re Melanie Moore Executed. pdf
202K

NMinM <mylink2u@gmail.com> Fri, Jul 19, 2019 at 4:38 PM
Draft To: Matthew Sarelson <msarelson@kymplaw.com>

You know as well as | do Mr. Sarelson, that the document you claimed to have in your response letter to Ms. Pereyra does not exist
because if it did, you would have submitted it along with the rest of your correspondence. | can only hope that you did not make this
claim because you were premeditating your intent to fabricate this document to submit as evidence for the purpose of committing
fraud against the court.

[Quoted text hidden}

2/

MIAMI-DADE COUNTY CLERK OF THE COURTS
HARVEY RUVIN

Contact Us My Account ‘eB
(EBS ae SAS PES Gs SE a a ST SU ATE

CIVIL, FAMILY AND PROBATE COURTS ONLINE SYSTEM

Not all search results will be displayed on-line. For example, the following case types (Sealed, Juvenile, Adoption and Mental Health Cases) may or
may not be in existence and may or may not be viewable by the public pursuant to Florida Supreme Court Mandate and the corresponding Access

Security Matrix.

POOCHES OF LARGO, INC. VS MELANIE MOORE

Local Case Number:

State Case Number:

Consolidated Case No.:

Case Status:

i Parties

, Hearing Details

& Dockets
Number Date

g 10/16/2020
8 10/16/2020

Ba
10/16/2020
. 7 06/19/2020

&
6 06/20/2019
06/19/2019
5 06/19/2019

S
3 06/19/2019

Book/Page Entry

2

‘Ae

2019-018268-CA-01
132019CA018268000001

N/A

CLOSED
Docket Event

Type

Order of Judgment
Dismissal
(EW.OP)

i Order of Event
Dismissal
(F.W.O.P)
FWOP Hearing
FwopP Event
Notice
Receipt: Event

S I

20 Day Service /
Summors————
Issued
ESummans Event
20 Day
issued
Receipt: Event

Filing Date: 06/18/2019
Judicial Section: CA24

Case Type: Libel / Slander

Total Of Parties: 2
Total Of Hearings: 1 +

Total Of Dockets: 11 ™

Comments

Parties: Moore Melanie

OCTOBER 16, 2020 9:00AM

RECEIPT#:3490127 AMT PAED:$10.00 NAME:MATTHEW 5 SARELSON E5Q
600 BRICKELL AVE STE 1715 MIAMI FL 33131-3076 COMMENT:
ALLOCATION CODE QUANTITY UNIT AMOUNT 3139-SUMMONS ISSUE
FEE 1 $10.00 $10.00 TENDER TYPE:E-FILING ACH TENDER AMT:$10,00
RECEIPT DATE:06/20/2019 REGISTER#:349 CASHIER-EFILINGUSER

Parties: Moore Melanie

RECEIPT#:3550355 AMT PAID:$401.00 NAME: MATTHEW S SARELSON HP
ESQ 600 BRICKELL AVE STE 1715 MIAMI FL 33131-3076 COMMENT:
ALLOCATION CODE QUANTITY UNIT AMOUNT 3100-CIRCUIT FILING FEE

Lye

256 37 2 47 34

Overview ~ Reviews Jobs Salaries Interviews Benehts

oo es —

Cur rer Empl ove
Fair warning

2, 2021 - Pet Counselor in Largo. PL
M Recommend MM CEQ Appraval & Business Qutlook

Pres

Your perks here are going to be the animals ar awsome co workers

Cans

There is too many cons to write about so1'l aust sum it UP. Management is 3
complete joke all the way up to the owner who is a selfish freedy man wha
constantly talks down to his employees in group chat) | have screen shots)

and finds anyway possible ta pay us tess and pocket more. Over a year period

o— only did he lower our comm ission whi! fe increasing the price of his

pugmies but he alsa withheld employees yearly raises and made it more

on so us to hit our manth ily bonus On tep of all this he als sO Mede every

employee sign a Non disclosure form restricting us from talking about owr
———— a

store breeders puppies and vets and also mak Ing ho where we can not wark

for any store that has anything to do with animals or pet retail supples fr

general. You also will have to split half of your commission if your customers

mace an appointment ar wernt below the price of the puppy. Again it's him

2 anyway to pay us less but ican legit write a book about all ihe crappy

things that come with working here

Advice to Management
Treat your employees like actual humans and be understarne ling of their needs

before expecting them to be the Exceptional ery ployee you want. Ifyou have
a happy function staff you will have a better outcome

+30

Somme [1101 =1-(e 0) oRST-Y-1 c01 0 ral

792 1.4K 45

s Reviews Salaries Photos Jobs Q&A Interviews

1.0

Poo management

Pet Care Technician (Former Employee) - Miami, FL -
February 23, 2020

Owner once said that the techs in the kennel
are the backbone of his company
MEANWHILE Your checks will come in SHORT
and they will tell you it's your fault. There’s so
many dogs that die and get sick here and they
still try to sell them. Terrible company that
should be shut down by the way they treat
these animals

v Pros
Great coworkers to be around

x» Cons
Terrible management, owner doesn't care
about workers, sick dogs and bad pet care

lAl awe thin cxAwiacui healed
Nas THs review Neiprul?

Yes No

Payson iO a

31

ci, etoia Flavell lelaler-
Mar 3, 2020 _
Sadly not so great
Former Pet Counselor

No Opinion of CEO
® Doesn't Recommend
® Positive Outlook
| worked at Petland part-time (less than a year)
Pros
| would say that a nice pro would be that you
get to be around animals if you like them, also if
you are good at the pet counselor position you
will make a good salary since this position is a .

as ie ‘%
commission position. You also receive 30% on
pet goods and if a puppy if left at the location
for more then 24 weeks you can get lucky and
get adiscount or a free pet.
Cons oo
less dhe,

When starting, you will be paid $8.00 hourly 97'S 'maunA
unless you make it into commissions. Which “<4

is done when your commission is higher then

your hourly.

Commission is 6% out of all sales which is good,

but it’s also 6% of any puppy even if it’s the

$5999 and up. So you really need to sale like

UH O <

-aoRoa

eG ee oe re

; ‘up. SO you really need to sale like
crazy to make it into commissions. ALSO, IF
YOU SALE ANY PUPPIES OR OTHERITEMS
AND YOUR COMMISSION IS NOT HIGHER
THEN YOUR HOURLY YOU LOSE THAT
MONEY!

If one decides to resign or quit, Petland makes

one sign a document that says they are allowed

to take your commission away if they feel

that is right. SO BE VERY CAREFUL IF Yoo:

_DECIDE TO RESIGN! _

The kennel team really makes sure the puppies
and other animals do well and are taken care

of if they are feeling a bit sick. But sometimes
when people make an appointment to see

a particular puppy, even if it’s sick, the pet
counselor will try whatever they can to take
the puppy out so they can make their sale.

All of management from the owner of the
business, to the managers, and shift leads are
very immature. All of the management team

at one location were very young (17 - 22), so if
something is not what they want, or you ask for
help with things they will get very angry, yell,
and write very rude things in the chat as well as
curse all the time.

They also will write fake reviews. They make
them anonymous, put whatever name and
write about how fantastic they did and how
amazing the store is.

Advice

Hi

O

1.0 ext
Petland Kennel Technician

Review - Its not great.
Kennel Technician (Former Employee) -
Webster, TX - March 12, 2022

In my experience there, management
does not acknowledge any and all
efforts you put towards trying to meet
their expectations. In terms of
keeping the kennels clean, one of the
higherups even told us to catch the
puppies bowel movements in our
hands as they were defecating just to
keep the kennels clean when we had
around 60 puppies to keep up with in
total. And on an average day there
would only be two technicians
working in kennel.

I was also told that raises were to be

given every three months of working»
there. My manager (the third of four

that I had during my time there) only
ever told me that my raise was
approved, yet I never saw a cent of it.
By the time I had put my two-weeks
notice in, 1 was overdue for two raises
“and coming to be due for a third.

4 20

“33

R220 +4 ABR = TE wl 27% ms
= ft
D4 1.oOn ~ | 544 6
€ Reviews Salaries Photos Jobs Q>
3.0 kkk
Nice

Kennel Technician (Former Employee) -
Pembroke Pines, FL - September 29, 2021

Work too hard for such little pay from
a conceded man that makes millions
but can’t even rise the employees pay
$6 over pay. If he’d raise the pay to
what the kennel techs deserve, maybe
they'd stop leaving. But he doesn’t
care ya know

“Pros
Nice staff

x Cons
Heavy lifting, can’t eat inside, under

pay Q

“34

Petland Employee Review

Petland Kennel Technician Review - Very
unorganized

Kennel Technician (Current Employee) - Webster, TX - May 13, 2021
Management is horrible and unorganized no one knows what Anyone is doing
| have worked there for 3 weeks with no pay and no way of clocking in my

hours I'm only using this place for kennel experience.

Ratings by category
3.0% Work/Life Balance
1.0 % Compensation/Benefits
2.0 ® Job Security/Advancement
1.0 % Management
2.0 % Culture

Pros
Holding puppies

% Cons
No pay, unorganized management, petty coworkers

Was this review helpful?

Yes No Pr

ee9

& Petland Pet Counselor Review: Low stress job with terrib...

Ss hot Why join Us Reviews Eeiarits Photos jot Q8A Interviews

< View ali Petiand reviews

2.0 Wikre
Petland Pet Counselor Review - Low stress job with terrible
comission structure.

Pet Counselor (Fermer Employee) - Largo, FL - june 14, 2021

Overall this is an easy sales jobs. The biggest issue is that its is the lowest

| commission pay structure in have seen for a sales jobs (7% max comission

| pay on sales). They promised that splits do NOT happen often (usually about
20%}, but over my last 2 months over 80% of my comissions had to be split
due to unfair rules that limit your sales as a counselor. If you are ok with
Splitting your comission with house oh appointment setters while doing the
majority of the work (literally if a customer calls to ask about dog food the
appointment setters just sends the customer through to you instead of
asking themselves and learning about what we carry) then this job will be
fine for you. I also researched some of the “top 2%" breeders and found

| disturbing backgrounds on puppy mill practices. The only real benefit of this
place is to play with puppies and other pets, otherwise you will be left to the
wolves with little to now support and expected to do everything to close a
sale all while the managers or owners does nothing to support you on the
back and. My coworkers were all great and they were nice and easy to get
along with, There are much better sales jobs out there though. Do not fall
for the fake sales they sell you on, most of your sales with be split up to 4
ways because the owner does everything he can to not pay you fairly and
wants you to keep the store clean and stocked so he doesnt have to play an
hourly employee to do so. e

Want to work here? ee) oY Co) ile 2

3:09 Hah mi - *@ 215% 36

< ft

931 1.6K 3 128 79
“shot WhyJoinUs Reviews Salaries Photos Jobs Q&A _ Interviews

3.0 etsy

Fun but not a career
Pet Counselor (Former Employee) - Plantation, FL - October 31, 2018

Looking for a temporary fun job with no bills or responsibilities this job
would be perfect for you. Not good as a career but is a good starter for
hands-on work experience with animals. Uncapped commission (6%) is
great but if you are not commissionable you only get $8.10/hourly which is
very low, not enough for bills. THE JOB IS COMMISSION OR HOURLY. Owner
lacks respect for employees and will always threaten to cut commission or
_will fire you. There is no stability. You will be scheduled based on
performance. So if you took a vacation and didnt sell because you weren't
there ... expect to be scheduled at the slowest times. If you notice your _
hours are cut they might be letting you go slowly. Management in store is a
3 out of 5 rating (kids in charge of kids). Part-time positions only but you
work as much as 36 HOURS A WEEK maybe more if you are closing a sale
past time scheduled. BUT you don't get paid over time. Also No vacations
after October, but Christmas season you can make 2k-4k/month. During
slow season 1000-2500/month or possibly more if you the top seller of all
locations. There is room to move up to management but 14 to 15 hour
which is okay but if you are one of the top Sellers it is a pointless position to
take on( More responsibilities and less pay then )

Y Pros
Fun work place, family oriented, un-capped commission

x Cons
Hourly OR commission, hourly is 8.10, No stability, Disrespectful Owner

37
916 1.5K 3 202.73

< shot WhyJoinUs Reviews Salaries Photos Jobs QRA Interviews

ESS as
ciipwyers

Was this review helpful?

Yes 3 No a ly .
1.0 Wwxeiey HY
Terrible

Sales Associate (Former Employee) - Kendall, FL - July 15, 2020

I worked for this company for over a year and they've tried to cut
commission for all employees sooo many times. The owner of petland
florida does not care about his employees at all and the manager hires
employees solely based on locks. The manager at the kendall location is
VERY sexist and believes only women should clean and men should sell.
They claim to give you 6% commission for your sales but if you don’t reach a
certain goal your commission is cut. If you want to work here i suggest
rethinking it.

/ Pros
Puppies

x Cons
Pay, management, employees

Was this review helpful?

Yes 3 No a i

38
2.0 Ke KY

Stressful

Kennel Technician (Former Employee) -
Tyler, TX - April 12, 2021

If something happens kennel usually
gets blamed for it.You don’t get raises
that you're promised.Management
only cares if it benefits them.Job is
very much like a clique

Y Pros
Puppies

x Cons
Management

~ Was this review helpful?

39
= Fate (=x-\e pelo) olcy-y-] a0 9

oy “a FW xy 4 A *
maD i Ale PA AG

s Reviews Salaries Photos Jobs Q&A Interviews

ae Se # 4
5 2 te 7% 2 8
a heed date pe tt

extremely competetive workplace with
horrible management

Pet Counselor (Former Employee) - Largo, FL - July
30, 2019

The job starts off well and good but if you
expect to make any sales then you have to be
faster than all the other employees. Expect to
sell a dog that can be bought for a few
hundred dollars for thousands of dollars with
no training at all. Management can be rather
unprofessional and tends to talk about the
employees behind their backs or even to
them. Be prepared to keep any problems you
have to yourself. | was told, for sharing a
concern of mine, that | would be fired for
"lowering company moral". Most of the dogs
are sick and tend to have diarrhea when in
with the customers which makes for an even
harder sell. Also your commission privileges
can be taken away at any time if the
management doesnt like you.

Pros: they'll hire anyone since everyone quits

co

bee
ba 4 s & é

437 @S2 OSU ROO: BFK. ‘

ZipRecruiter Signin

Salary

While ZipRecruiter is seeing annual salaries as
high as $26,000 and as low as $15,000, the
majority of salaries within the Petland jobs
category currently range between $19,000

(25th percentile) to $22,500 (75th percentile)

across the United States. The average pay
range for a Petland job varies little (about
$3,500), which suggests that regardless of
location, there are not many opportunities for
increased pay or advancement, even with
several years of experience.

Based on recent job posting activity on
ZipRecruiter, the Petland job market in both
Largo, FL and throughout the entire state of
Florida is not very active as few companies
are currently hiring. People working within the
Petland category in your area are making on

_average $18,413 per year or $2,647 (13%) less

than the national average annual salary of
$21,060. Florida ranks number 49 out of 50
states nationwide for Petland job salaries.

Ht

ait

